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                    IN THE UNITED STATES DISTRICT COURT FOR
                         THE MIDDLE DISTRICT OF ALABAMA

     S4u/N 2Y/4€ 6/72/.3                                                       f ()
Full -'name and prison number                                            IN)
Of Plaintiff (s)
V.                                                CIVIL ACTION
                                                  (To be supplied-by Clerk of
- idIIJLL.JJ ' ,'      • LI      IIl'              U.S. District Court)
                                                      DEMAND FOR JURY TRIAL
     IiP, g TI-        ?




Name of person(s) who         violated
Your constitutional rights.
(List the names of all
persons.)
I. PREVIOUS LAWSUITS
    A.   Have you begun other lawsuits in state or federal court
         dealing with the same or similar facts involved in this
         action?   YES ( ) NO ( I.-)
        B.   Have you begun other lawsuits in state or federal court
             relating to your imprisonment? YES ( )       NO ( 4'
        C.   If your answer to A or B is yes, describe each lawsuit
             in the space below. (If there is more than one lawsuit,
             describe the additional lawsuits on another piece of
             paper, using the same outline.)
             1.      Parties to this previous lawsuit:
                     Plaintiff (s)       4(/,4-
                     Defendant (s)


             2.      Court if federal court, name the district; if
                     state court, name the county) 1IY/'5



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              3.       Docket number       .'/i4

              4.       Name of judge to whom case was assigned
                                  .41,4

              5.       Disposition (for example: Was the case dismissed?
                       Was it appealed? Is it still pending?)




              6.       Approximate date of filing lawsuit       (V4

              7.       Approximate date of disposition      A/,4

II.   PLACE OF PRESENT CONFINENT,L,,
         Q         F   F   ....    '7/'   F'(fP /   'IV   ( -      L.-

      PLACE        OF INSTITUTION WHERE INCIDENT OCCURRED________________
               L7ecM4e_
III. NAME AND ADDRESSES OF INDIVIDUAL(S) YOU ALLEGE VIOLATED YOUR
     CONSTITUTIONAL RIGHTS.
                    NAME       .                 ADDRESS

              1.                                                             /3',
              2.

              3.

              4.

              5..

              6.


IV. , THE DATE UPON WHICH SAID VIOLATION OCCURRED                        .
                       kIJ i4 ,L,'/ O4A4j                       ..-
V. STATE BRIEFLY THE GROUNDS ON WHICH YOU EASE YOUR ALLEGATION
     THAT YOUR CONSTITUTIONAL RIGHTS ARE BEING VIOLATED
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     STATE BRIEFLY THE FACTS WHICH SUPPORT THIS GROUND (state as
     best you can the time, place and manner and person involved)




GROUND TWO:                 \.



SUPPORTING FACTS:




GROUND THREE:



SUPPORTING FACTS:




                                   3
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VI. STATE BRIEFLY EXACTLY WHAT YOU WANT THE COURT TO DO FOR YOU.
     MAKE NO LEGAL ARGUMENT. CITE NO CASES OR STATUTES.




    I declare under penalty of perjury that the foregoing is
true and correct.

EXECUTED on
                         '(Date)




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              IN THE UNITED STATES DISTRICT COURT FOR
                  THE MIDDLE DISTRICT OF ALABAMA
                                      )
JAQUINE R. TAYLOR
AIS NUMBER 167813                     )
       PLAINTIFF                      )
                                      )
VS.                                       CIVIL ACTION NUMBER:J1jft7fr

COMMISSIONER: KIM THOMAS
WARDEN: DEWAYNE ESTES, ET. AL.        )
       DEFENDANT'S

                                      )

                        I. JURISDICTION & YEtUE.

This is a civil action authorized by 42 U.S.C. section 1983 to
redress the deprivation, under color of state law, of rights
secured by the constitution of the United States. This court

has jurisdiction under 28 U.S.C. section 1331 & 1343 (a) (3).

Plaintiff seeks declaratory relief pursuant to 28 U.S.C. section

2201 and 2202. Plaintiff claims for injunctive relief are auth-

orized by 28 U.S.C. section 2283 & 2284 and RULE 65 of Federal
Rules of Civil Procedure.


The middle District of Alabama is an appropriate venue under 28
U.S.C. section 1391 (b) (2) because it is where the events giving

rise to this claim occured.


                           II. PLAINTIFF

Plaintiff Jaquine Roberto Taylor is and was at all times ment-

ioned herein a prisoner of the state of Alabama in the custody


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of Alabama Department of Corrections. Plaintiff is currently

confined at the Limestone Correctional Facility located at
28779 Nick Davis road Harvest Alabama 35749-7009.


                         III. DEFENDANTS

Defendant Kim Thomas is the Commissioner of Alabama Department
of Corrections He is legal responsible for the overalll oper-

ation of the Department and each institution under its juris-
diction included Limestone Correctional Facility where plaintiff

is confined.

Defendant Dewayne Estes is the warden of Limestone Correctional
Facility is responsible for the operation of Limestone Correc-

tion and the welfare of all mates and officers of the prison.

Each Deendant is sued individually and in his official capacity.
At all times mention in this complaint each defendant acted under

color of state law.

                            IV.-Facts
On December 21, 2012 the Honorable Myron thompson concluded that

ADOC policy $ on segregation did in fact Violate the ADA (Amer-
ican Disability act) and 504 rehabilitation act.

On Septemner 30, 2013 Honorable Myron Thompson decided in his
opionjon that HIV class members was not entitle to moneytary
damages However Judge Thompson said it does not preclude class

members from seeking compensation in a future suit.

The fact is the objectors (me) in thi.s case are permitted to

file or maintain action for inoneytary damages.




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The ADOC (Alabama Department of Correction) intention violated
plaintiff confidentiality by diclos•ing plaintiff Hiv status
to others. When new inmates arrive at Limestone Correctional

Facility they are inform inmates in B dorm and wear red arm
band is HIV. This is a direct violation of plaintiff 8th and
14th amendment rigtt to theUnited             Cojori.

Hiv people can )jal lived as long as one without HIV and danger of
Others catching HIV is very low.

Plaintiff in this case constitutional rights has been violated
under the 8th, 14th amendment right to the United States Con-
stitution and the American disability Act & Rehabilition act 504.

Defendants in this case had a policy to segregate all Hiv inmates

which is a violation of plaintiff rights.
ADOC policy did in fact violate plaintiff rights, Plaintiff         mb
this case alledge that defendants pattern of incident exist that
it came from a level of constitutional violation and defendants
had actual knowledge of the violations.

In 94MA Swint-V-City of Wadley, 51 F. 3d. 989 (11th Cir. 1995)
1983 requires proof of affirmative causal connection between the

Official acts, its clear in this case that the inquiry into cau-
sation must be a direct one focusing on the duty and responsibi-
lities of each defendants where acts are alledge to have resulted

in a constitution deprivation; Swint-v-City of Wadley, 51 F.3d.999

Hiv segregation policy discrimination against plaintiff on the

basic od disability (HIV Status) in violation of Title II of

American with disabilities act 42 U.S.C. 1201 and rehabilitation


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act, 29 U.S.C. 794. Plaintiff further argue injuries because due
to plaintiff HIV status he is ineligibilty for transfering to

another facility. Plaintiff       i challenge the fact that he is
barred from consideration of transfer to another institution,

and Honor dorm, simple because plaintiff has HIV. It has been

long understood that governmental policy of exclusion and seg-
regation create actual concrete injuries that are redress by the

courts. See Jackson -V-Okaloosa County 21 F. 3d. 1531 (11th Cir.
1994).

Plaintiff in this caset assert under titile II of the ADA and

rehabilitation act 504 provide that no qualified individual
with disability shall by reason of such disability be excluded

from participation or be denied the benefits of services,programs

or activities of public entity. 42 U.S.C. 12132 section 504 provide
that no qualified individual with disability shall soley by reason

of his disability be excluded participation in be denied the benfits

of subjected to discriminaTION under any program or activity rec-
eiving fedreaL FINANCIAL AS             29 U.S.C. 794 (a) claims under

both status are governed by same standard. Cash -V-Smith 231 F. 3d.
1301. (11th Cir. 2000).

                V. EXHAUSTION OF LEGAL REMEDEDIES
Plaintiff alledges that ADOC does not have any grievance pro-
dure at Limestone Correctional Facility.


                          VI.LEGAL CLAIMS


ADOC violated plaintiff 8th, 14th amendmenrt right to the United
States constitution and the American with disability act.



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The plaintiff has path or coinpietwe remedy at law to redress the
wrongs describe herin. plaintiff has been and will continue
to be irreparably injury by the conduct of the defendants

unless the courts grants the declaratory and injunctive relief
which plaintiff seeks.



                                VII. RELIEF

WHEREFORE, plaintiff re.spectully prays that this honorable Court
enter judgement granting plaintiff;

A. Compensatory damages in the amount of 150,000.00 dollars against
   each defendant, jointly and severally.

B. Punitive damages in the amount of D0,QQ0.0Q dollars against
each defendant.

C. Plaintiff cost in the suite
D. Attorney Fees

E. Jury Trial on all issues

F. Any addition relief the court deem just


                             VIII VERIFICATION

I have read the forgoing complaint and hereby verify that the matters
herein is true. I cergy that the forgong is true under the penalty

of perjury. Executed at Harvest Alabama on this 9th day of May
2014.



                                            a4uine Taylor# 167813-Plaintiff
                                           28779 Nick Davis Road
                                           Harvest Alabama 35749-7009
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Jaquine Taylor # 167813 B-GO                            --
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